                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                            NORTHERN DIVISION - BAY CITY

IN RE:

COMMUNITY MEMORIAL HOSPITAL,                                Case No. 12-20666-dob
                                                            Chapter 11 Proceeding
            Debtor.                                         Hon. Daniel S. Opperman
_____________________________________/

CMH LIQUIDATING TRUST,

         Plaintiff,

v.                                                          Adversary Proceeding
                                                            Case No. 14-2020-dob
TED ANDERSON, WILLIAM BORGERDING,
et al,
       Defendants.
_____________________________________/

      OPINION GRANTING CONCURRENCE TO MOTION FOR DISMISSAL OR IN THE
    ALTERNATIVE MORE DEFINITE STATEMENT OF DEFENDANTS DR. LEIF DAHLEEN
                            AND HOLLY CAMPA

         The Plaintiff, CMH Liquidating Trust, filed this adversary proceeding on February 27,

2014. Thereafter, Defendants Dr. Leif Dahleen and Holly Campa filed their Concurrence to the

Motions of Co-Defendants for Dismissal Pursuant to Federal Rule of Procedure 12(b)(6) or in

the Alternative Motion for More Definite Statement. That Motion is now before the Court and

the Court, being fully advised in the premises, GRANTS Dr. Dahleen’s Motion for Dismissal,

with prejudice, and GRANTS Campa’s Motion for Dismissal, but allows Plaintiff 42 days to

amend its Complaint as to Defendant Campa.

                                        Findings of Fact

         Debtor Community Memorial Hospital (“CMH” or “the Hospital”) was a Michigan non-

profit hospital that opened in 1942. The Hospital operated for decades before encountering



                                                 1
 
    14-02020-dob      Doc 172   Filed 09/29/17       Entered 09/29/17 15:42:55     Page 1 of 9
substantial financial problems in the early 2000’s. As early as 2003, the Hospital’s board began

receiving negative feedback regarding its financial situation, perceived lack of leadership, and

growth strategy. The Hospital sustained annual operating losses from 2008-2011, eventually

commencing a Chapter 11 bankruptcy in March 2012. The cause of the Hospital’s financial

problems is the center of the dispute in this case.

        The Order Confirming First Amended Chapter 11 Plan of Liquidation (“OCP”) in CMH’s

bankruptcy vested Plaintiff with all causes of action that CMH or the unsecured creditors’

committee held against former directors or officers of the Hospital. Thus, Plaintiff filed this

adversary proceeding, naming as Defendants 36 individuals who previously were associated with

the Hospital, alleging that each Defendant was an officer or director at various times during the

period of financial struggle noted above.

        According to Plaintiff, the Defendants breached their fiduciary duties and acted

negligently by taking imprudent actions regarding or by failing to take actions sufficient to

address the Hospital’s financial problems.       Plaintiff’s Complaint includes substantial detail

regarding the acts or omissions it believes led to CMH’s financial collapse, and is not short on

allegations of wrongdoing against the Defendants collectively.           Unfortunately, with few

exceptions, Plaintiff does not identify which Defendant took or participated in any particular

harmful act or omission. Instead, Plaintiff’s Complaint simply lumps together all Defendants

and assigns to them, as a group, acts and omissions that spanned a decade.

        Defendants argue Plaintiff’s Complaint creates a problem because the Defendants face

liability as individuals, not as a group. Additionally, no single Defendant held a relevant position

at CMH for the entire time covered by Plaintiff’s Complaint, which means there is not one

Defendant to whom all of the allegations apply. Despite these realities, Plaintiff makes little



                                                  2
 
    14-02020-dob    Doc 172      Filed 09/29/17       Entered 09/29/17 15:42:55      Page 2 of 9
effort to alert the Defendants or this Court as to which Defendant is responsible for which

particular actions or decisions. Plaintiff also does not group Defendants together by board term,

length or type of service, or any other quantifiable metric. Also, there is little other information

in the Complaint that would allow the Defendants (or the Court) to determine which individual

Defendant is charged with which wrongful act or omission, or which individual Defendant is

responsible for which harmful result.

        Instead, Plaintiff makes no distinction between the various defendants or their different

respective roles or periods of relationship with the Hospital. Additionally, Plaintiff’s Complaint

contains a Count I against Volunteer Directors and a Count II against Non-Volunteer Directors,

but does not clarify into which category each Defendant fits. Plaintiff’s Complaint also fails to

provide notice as to what acts or omissions are relevant to Volunteers as opposed to Non-

Volunteers. Plaintiff simply applies all allegations of each Count to all Defendants, regardless of

the nature, period, or duration of their service to the Hospital. A number of Defendants have

moved to dismiss for a number of reasons, including Plaintiff’s failure to adequately allege each

individual Defendant’s conduct and culpability.

        The reservation of claims contained in the OCP in Debtor’s bankruptcy case also is

relevant to Dr. Dahleen’s Motion.         According to the OCP, the assets “of the Debtor” that are

reserved and vest in the Trust include “the Recovery Actions.” The Recovery Actions are

defined as “any Cause(s) of Action, Avoidance Action(s), D&O Action(s) and other action(s) of

the Debtor.” The OCP defines the “D&O Actions” as “by way of example but not by way of

limitation, actions for:

                1.         Breach of fiduciary duty, including but not limited to breach of the duty of
                           loyalty, breach of the duty of care, beach of the duty of good faith,
                           together with breach of any other duty or duties that apply by operation of
                           State or Federal law;


                                                     3
 
    14-02020-dob     Doc 172        Filed 09/29/17       Entered 09/29/17 15:42:55      Page 3 of 9
               2.     Embezzlement;

               3.     Fraud;

               4.     Usurpation of corporate interest or opportunities;

               5.     Self-dealing;

               6.     Theft or conversion of corporate property or interests;

               7.     Unauthorized disclosure of confidential or privileged information; and

               8.     All other similar claims actionable against former or existing officers,
                      directors or senior managers.”

        The OCP then lists 60 former and existing alleged officers, directors, and senior

managers to whom it applies. However, the OCP does not include Dr. Dahleen in the list.

                                           Jurisdiction

        This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334, 157(a) and

E.D. Mich. LR 83.50. This is a core proceeding under 28 U.S.C. §  157(b)(2)(A) (matters

concerning the administration of the estate).

            Standard for Motion to Dismiss and Motion for More Definite Statement

        Federal Rule 12(b)(6) provides for dismissal of a complaint for “failure to state a claim

upon which relief can be granted.” A motion to dismiss pursuant to Federal Rule of Civil

Procedure 12(b)(6) operates to test the sufficiency of the complaint and the court must construe

the complaint in the light most favorable to the plaintiff, accepting all well-pleaded factual

allegations in the complaint as true. See Lewis v. ACB Bus. Servs., 135 F.3d 389, 405 (6th Cir.

1998). However, the court will not accept conclusions of law or unwarranted inferences which

are presented as factual allegations. Blackburn v. Fisk Univ., 443 F.2d 121, 124 (6th Cir. 1974).

A complaint must contain either direct or reasonable inferential allegations that support all


                                                 4
 
    14-02020-dob    Doc 172     Filed 09/29/17       Entered 09/29/17 15:42:55      Page 4 of 9
material elements necessary to sustain a recovery under some viable legal theory. Lewis, 135

F.3d at 405 (internal citations omitted).

        A complaint must be dismissed pursuant to Federal Rule of Civil Procedure 12(b)(6) for

failure to state a claim upon which relief can be granted if it does not plead “enough facts to state

a claim to relief that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570

(2007) (rejecting the traditional 12(b)(6) standard set forth in Conley v. Gibson, 355 U.S. 41, 45-

46 (1957)). However, the Twombly Court reaffirmed the “notice pleading” standard of Federal

Rule of Civil Procedure 8(a)(2). Twombly, 550 U.S. at 560-61.

        Federal Rule of Civil Procedure 8 requires only that a pleading set forth a short and plain

statement of the claim showing entitlement to relief. Fed. R. Civ. P. 8(a)(2). The purpose is to

give the defendant fair notice of the claim and the grounds upon which it rests. Conley, 355 U.S.

at 47. A party may move for a more definite statement of a pleading to which a responsive

pleading is allowed but which is so vague or ambiguous that the party cannot reasonably prepare

a response. Fed. R. Civ. Pro. 12(e) (2017). Federal courts generally disfavor motions for more

definite statements. E.E.O.C. v. FPM Grp., Ltd., 657 F. Supp. 2d 957, 966 (E.D. Tenn. 2009).

        However, granting such a motion is appropriate when the defendants don’t know what

acts or omissions the plaintiff contends they were involved in. See Fisher v. Caruso, Nos. 03-

71804, 06-11110, 2007 U.S. Dist. LEXIS 45366, at *6 (E.D. Mich., June 22, 2007); see also

Martinez v. Foster, No. 13-59, 2014 U.S. Dist. LEXIS 44376, at *9-10 (E.D. Tex., Feb. 27,

2014) (granting motion for more definite statement where vast bulk of complaint alleged

collective action by defendants such that there was little to enable each defendant (or the court)

to parse out a reasonable inference of personal liability, and where each and every count

explicitly incorporates each and every preceding paragraph of allegations).



                                                  5
 
    14-02020-dob    Doc 172      Filed 09/29/17       Entered 09/29/17 15:42:55       Page 5 of 9
                                            Discussion

1.      Dr. Dahleen’s Motion

        Like other Defendants, Dr. Dahleen argues that the OCP did not adequately reserve the

causes of action at issue here because it did not contain a sufficient factual basis for the claims

asserted. However, as to Dr. Dahleen the Court need not address this broader argument. Dr.

Dahleen was not listed in the OCP as one of the individuals against whom a cause of action may

be asserted. Accordingly, he is not a proper party to this matter and, as relates to him, the

alleged lack of factual support for the actions asserted in the OCP are irrelevant.

        The confirmation of a reorganization plan constitutes a final judgment in a bankruptcy

proceeding. Browning v. Levy, 283 F.3d 761, 772 (6th Cir. 2002). Thus, a bankruptcy court’s

order confirming the plan has the impact of a district court judgment, and res judicata bars re-

litigation of any issues raised or that could have been raised in the confirmation proceedings. Id.

Applying the principles of res judicata here requires dismissing Dr. Dahleen. The OCP in

Debtor’s bankruptcy did not include Dr. Dahleen as a potential Defendant regarding the claims at

issue. The issue of his potential involvement or liability should have been raised and confirmed

during the confirmation process, but it was not.          The OCP constitutes a final judgment

determining that Dr. Dahleen was not an individual against whom the relevant causes of action

could be asserted, and the Court cannot now disregard that judgment. Therefore, Plaintiff’s

claims against Dr. Dahleen are dismissed with prejudice.

2.      Holly Campa’s Motion

        Defendant Campa argues that Plaintiff’s Complaint fails to allege facts sufficient to

support its claims against her, and the Court agrees. With few exceptions, which exceptions do

not include Defendant Campa, Plaintiff does not identify which Defendant took or participated in



                                                  6
 
    14-02020-dob    Doc 172      Filed 09/29/17       Entered 09/29/17 15:42:55       Page 6 of 9
any particular harmful act or omission. Plaintiff’s Complaint simply groups together all of the

Defendants and assigns to them, as a group, acts and omissions that spanned a decade. After

listing Defendant Campa in the section naming all Defendants, Plaintiff does not mention her

again anywhere in the Complaint. Thus, there is virtually no information in the Complaint that

would allow Defendant Campa to determine for which wrongful act or omission she is charged

or for which harmful result Plaintiff holds her responsible.

        Instead, Plaintiff employs “group pleading” by lumping together every Defendant for

purposes of every allegation. Plaintiff argues that such “group pleading” is appropriate because

the Defendants participated in similar conduct. In support Plaintiff relies heavily on three cases:

Solution Trust v. 2100 Grand LLC, et al. (In re AWTR Liquidation, Inc.), 548 B.R. 300 (Bankr.

C.D. Cal. 2016); Garrett v. Cassity, No. 09-01252, 2010 WL 5392767 (E.D. Mo. Dec. 21, 2010);

and In re American Apparel, Inc. S’holder Derivative Litig., No. 10-06576, 2012 WL 9506072

(C.D. Cal., July 31, 2012). These cases do not support Plaintiff’s argument.

        The AWTR Liquidation Court noted that “group pleading” might be appropriate where the

defendants were “similarly situated” and engaged in “similar conduct.” AWTR Liquidation, 548

B.R. at 339.   In that case, the court was dealing with seven defendants who were directors of a

closely-held corporation. Similarly, in Garrett the plaintiff’s “group pleading” was acceptable

only to the extent “Plaintiffs alleged that each Defendant is liable for committing essentially the

same actions.” Garrett, 2010 WL 5392767, at *39. And the case of American Apparel involved

director defendants who were alleged to have served on the board “for the entire duration of the

events in question.” American Apparel, 2012 WL 9506072, at *40-41.

        The differences between those three cases and this one are unavoidable. This case

involves 36 Defendants in a corporation that was not closely held. Here, the Defendants were



                                                 7
 
    14-02020-dob    Doc 172     Filed 09/29/17       Entered 09/29/17 15:42:55      Page 7 of 9
not all similarly situated. For example, Defendant Campa claims she was a non-supervisory

employee, situating her differently from directors or executives. Additionally, the Defendants

include officers, volunteer directors, and paid directors—positions with different duties that are

subject to different legal standards. Moreover, the allegations in Plaintiff’s Complaint cover a

period of nearly nine years. It does not appear any Defendant, including Defendant Campa, held

the same role for that entire time. These Defendants cannot be liable for essentially the same

actions done over the same time period considering they held different positions at different

times. Finally, the Complaint does not levy a single factual allegation against Defendant Campa

individually, but merely directs at her every allegation made against every other Defendant.

        Even when construing the allegations of the Complaint in the light most favorable to

Plaintiff, it does not plead facts sufficient to state a plausible claim for relief against Defendant

Campa. See Twombly, 550 U.S. at 570. Plaintiff’s Complaint does not give Defendant Campa

fair notice of the claims against her and the grounds upon which they rest. See Conley, 355 U.S.

at 47. The Complaint is too vague and ambiguous to allow Defendant Campa to reasonably

respond.

        Thus, because Defendant Campa does not know what acts or omissions for which

Plaintiff contends she is responsible, the Court orders Plaintiff to amend its Complaint to include

a more definite statement of the bases upon which it asserts Defendant Campa is liable. See

Fisher, 2007 U.S. Dist. LEXIS 45366, at *6; see also Martinez, 2014 U.S. Dist. LEXIS 44376, at

*9-10 (granting motion for more definite statement where vast bulk of complaint alleged

collective action by defendants such that there was little to enable each defendant (or the court)




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    14-02020-dob    Doc 172      Filed 09/29/17       Entered 09/29/17 15:42:55       Page 8 of 9
to parse out a reasonable inference of personal liability, and where each and every count

explicitly incorporates each and every preceding paragraph of allegations).1




Signed on September 29, 2017




                                                            
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    The Court also encourages Plaintiff to further investigate Defendant Campa’s involvement in the
Debtor’s operations before amending a complaint against her. Defendant Campa claims she was a non-
supervisory employee at all times relevant—that she did not serve as a director, officer, executive, or in
any other position of authority or influence. She claims she had no input into the decisions or actions
about which Plaintiff complains. If this is true (and its truth should not be that difficult to ascertain), the
Court sees no avenue for relief against her. Plaintiff should be able to address this issue before continuing
to involve Defendant Campa in this matter.

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    14-02020-dob      Doc 172       Filed 09/29/17        Entered 09/29/17 15:42:55           Page 9 of 9
